                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 21-61078-rk
Judy A Pinnick                                                                                                         Chapter 7
Arthur H Pinnick
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0647-6                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 03, 2021                                               Form ID: 318                                                              Total Noticed: 15
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 05, 2021:
Recip ID                   Recipient Name and Address
db/db                  +   Judy A Pinnick, Arthur H Pinnick, 7695 Judy Ave, Apple Creek, OH 44606-9536
cr                     +   Rocket Mortgage, LLC f/k/a Quicken Loans, LLC, c/o Reimer Law Co., 30455 Solon Road, Solon, OH 44139-3415
27027068               +   Central Credit Services, LLC, Attn: Bankruptcy, 9550 Regency Square Blvd, Ste 500 A, Jacksonville, FL 32225-8169
27027074               +   Team Recovery, Inc, Attn: Bankruptcy, Po Box 1643, Stowe, OH 44224-0643

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QAPSILAGY.COM
                                                                                        Dec 04 2021 01:38:00      Anne Piero Silagy, Esq., Canton, 1225 South Main
                                                                                                                  Street Suite 1, North Canton, OH 44720-4247
ust                    + Email/Text: ustpregion09.cl.ecf@usdoj.gov
                                                                                        Dec 03 2021 20:37:00      Cynthia J. Thayer, US Department of Justice, 201
                                                                                                                  Superior Avenue, Suite 441, Cleveland, OH
                                                                                                                  44114-1234
27027064                   Email/Text: ebn@americollect.com
                                                                                        Dec 03 2021 20:37:00      Americollect, Po Box 1566, 1851 South Alverno
                                                                                                                  Road, Manitowoc, WI 54221
27027065                   EDI: BANKAMER.COM
                                                                                        Dec 04 2021 01:38:00      Bank of America, Attn: Bankruptcy, Po Box
                                                                                                                  982234, El Paso, TX 79998
27027066               + EDI: CAPITALONE.COM
                                                                                        Dec 04 2021 01:38:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
27027067               + Email/Text: bankruptcy@cavps.com
                                                                                        Dec 03 2021 20:37:00      Cavalry Portfolio Services, Attn: Bankruptcy, 500
                                                                                                                  Summit Lake Drive, Suite 400, Vahalla, NY
                                                                                                                  10595-2322
27027069               + EDI: DISCOVER.COM
                                                                                        Dec 04 2021 01:38:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
27027070                   Email/Text: eblymiller@fidelitycollections.com
                                                                                        Dec 03 2021 20:37:00      Fidelity National Collections, 885 South Sawburg
                                                                                                                  Avenue, Suite 103, Alliance, OH 44601
27027071               + Email/Text: PBNCNotifications@peritusservices.com
                                                                                        Dec 03 2021 20:37:00      Kohls/Capital One, Attn: Credit Administrator, Po
                                                                                                                  Box 3043, Milwaukee, WI 53201-3043
27027072               + EDI: NAVIENTFKASMSERV.COM
                                                                                        Dec 04 2021 01:38:00      Navient, Attn: Claims Dept, Po Box 9500,
                                                                                                                  Wilkes-Barre, PA 18773-9500
27027073               + Email/Text: bankruptcyteam@quickenloans.com
                                                                                        Dec 03 2021 20:37:00      Quicken Loans, Attn: Bankruptcy, 1050
                                                                                                                  Woodward Avenue, Detroit, MI 48226-3573

TOTAL: 11


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.




           21-61078-rk              Doc 19         FILED 12/05/21                ENTERED 12/06/21 00:13:20                             Page 1 of 4
District/off: 0647-6                                             User: admin                                                            Page 2 of 2
Date Rcvd: Dec 03, 2021                                          Form ID: 318                                                         Total Noticed: 15
NONE


                                                  NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 05, 2021                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 3, 2021 at the address(es) listed
below:
Name                            Email Address
Anne Piero Silagy, Esq.
                                asilagycourt@neo.rr.com asilagy@ecf.axosfs.com

David M. Todaro
                                on behalf of Debtor Arthur H Pinnick davidmtodarocolpa@gmail.com
                                davetodaro@embarqmail.com;r43226@notify.bestcase.com

David M. Todaro
                                on behalf of Debtor Judy A Pinnick davidmtodarocolpa@gmail.com davetodaro@embarqmail.com;r43226@notify.bestcase.com

Richard John LaCivita
                                on behalf of Creditor Rocket Mortgage LLC f/k/a Quicken Loans, LLC bknotice@reimerlaw.com, rlacivita@ecf.courtdrive.com


TOTAL: 4




           21-61078-rk           Doc 19         FILED 12/05/21              ENTERED 12/06/21 00:13:20                         Page 2 of 4
Information to identify the case:
Debtor 1
                       Judy A Pinnick                                               Social Security number or ITIN   xxx−xx−5366
                                                                                    EIN _ _−_ _ _ _ _ _ _
                       First Name    Middle Name   Last Name

Debtor 2               Arthur H Pinnick                                             Social Security number or ITIN   xxx−xx−4901
(Spouse, if filing)
                                                                                    EIN _ _−_ _ _ _ _ _ _
                       First Name    Middle Name   Last Name

United States Bankruptcy Court        Northern District of Ohio

Case number:          21−61078−rk

Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Judy A Pinnick                                                Arthur H Pinnick


             12/3/21                                                        By the court: RUSS KENDIG
                                                                                          United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                             This order does not prevent debtors from paying
and it does not determine how much money, if                               any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                       debts according to the reaffirmation agreement.
                                                                           11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                  Most debts are discharged
attempt to collect a discharged debt from the                              Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                 all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                            personal liability for debts owed before the
or otherwise try to collect from the debtors                               debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                           Also, if this case began under a different chapter
in any attempt to collect the debt personally.                             of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                           to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                are discharged.
However, a creditor with a lien may enforce a                              In a case involving community property: Special
claim against the debtors' property subject to that                        rules protect certain community property owned
lien unless the lien was avoided or eliminated.                            by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                              not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




Official Form 318                                              Order of Discharge                                     page 1




        21-61078-rk                 Doc 19         FILED 12/05/21      ENTERED 12/06/21 00:13:20                     Page 3 of 4
Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2




    21-61078-rk       Doc 19      FILED 12/05/21      ENTERED 12/06/21 00:13:20           Page 4 of 4
